Case 2:05-cr-20238-.]PI\/| Document 9 Filed 07/01/05 Page 1 of 2 Page|D 11

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]N THE UNITED STATES DISTRICT COURT
FOR TI~]E WESTERN DISTRICT OF TENN§§SM j \ PH \2: 35

  
 

 

 

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UNITED sTATEs oF AMERICA 1111"1111 1’1'?.111’1\!8
V.
BENJAMIN MURRELL oscrzozss-Ml
oRDER 0N ARRAIGNMENT

 

This cause came to be heard on O/M/&/\ / g g 5 bF-F the United States Attorney

for this district appeared on behalf of the£overnr@=:nt, and the defendant appeared 1r1 person and with
conn sel:

NAME A/\ j 0 LA_,{/M/h Who is Retainedeppointed.
`_.__,"‘

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

Ihe defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (`being held Without bond pursuant to BRA of 1984), is remanded to the Custody

of the U.S. Marshal. -_1
/<O/t M~¢: /C_ Q/g£/{,V

UNITED STATES MAGISTRATE ]UDGE

 

 

CHARGES ~ 18:922g
firearms

Attorney assigned to Case: S. I-Iall

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UNITED SAer DSTRIC COURT - WETRSE DISTRICT TENNESSEE

 
 

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Honorable J on McCalla
US DISTRICT COURT

